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February 21, 2017 :|. m
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The Honorabie Judge Samuel H. Mays =*’ § s § <1""
Western District of Tennessee ._.,, ~ ___ r..;:_r
167 North Main Street §§ 'Z? ‘ ‘ ‘
Memphis, TN 38103 __4 got . [_"}

Dear Judge Mays:

My name is Alice Marie Johnson and my attorney is Marcia G. Shein. On February 3, 2017, Ms. Shein nled a motion on my
behalf iri your honorable court for a sentence reduction pursuant to 18 U.S.C. section 3582(c)(2) in reference to my criminal
case no. 94-20256-02.

Judge Mays i'm writing to you to express my deep remorse for the crime that | committed over 20 years ago. l made some' bad
choices which have not only affected my life, but have impacted my entire famiiy. You were not the presiding judge in my case,
but l'm asking you, this court, and all parties involved for your forgiveness. l have truly tried to make amends to society by
positively affecting my environment in prison and becoming of service to others.

My prison records will attest to the woman who i am today. l am a completely changed woman from the one who was
convicted on October 31, 1996 and later sentenced to life in prison. On day one of my incarceration | took a close look at the
mess that | had made out of my iife. There is absolutely no excuse for what i did. Prior to becoming involved in criminal
activities i had worked all of my life and tried to be a good mother to my five children. Ear|y in life i had overcome many
obstacles i became a teenage mother at 15 years oid, but still graduated from high school and went on to take college
classes. l held various professional positions and was always a hard working and dependable empioyee. i was a manager at
FedEx for 10 years in Computer Operations and then in Customer Support. i was later selected to be a facilitath for them to
train employees for management When i lost my job with FedEx l made the worst mistake of my life and became involved in
criminal activities. l had never used or sold drugs before and l got in over my head. i'm not trying to portray myself as a victim
because i chose the easy way out of my financial problems. l deeply regret making those terrible choices. The choices i have
made since coming to prison have been vastly different.

i have been housed at FC| Alicevi|le for over three years. My warden here and other prison staff members have written letters
about my positive contributions to this prison. i was housed at FMC Carsweii for 15 years and also received numerous
accoiades and awards from staff there. i have accomplished at every prison |'ve been at what has been termed as
"extraordinary rehabilitation" and maintained 100% clear conduct.

Some people say, never say never. But i can say, l will NEVER become involved in criminal activities againl instead i will work
hard to deter others on the outside from committing crimes, just as i have worked hard to deter women on the inside from
committing crimes when they go home. i have so much to offer to our community and i have gained insights that wiii be of
great value to those who want meaningful change in iife.

i am humbiy asking you for a second'chance in life to be a productive citizen again and restored to my famiiy. if there was
anything else | could do to prove that i'm worthy cfa second chance in life, l would do it. Judge Mays i am pleading with you to
have mercy on me by granting my motion_and resentencing me to 240 months. i promise you will not be disappointed and you

can be assured that | will be that one who will make a difference in society for good.

| pray that you will be greatly biessed and l thank you for taking the time to read this ietter.

Sincereiy,

Aiice Marie Johnson

14873-076 _ _
Federai Correctionai institution - Alicevi|le
P.O. Box 4000

Aiicevii|e, AL 35442

 

  

20256-SHi\/| Document977 Filed 02/24/17 Page

 

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